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                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON



   OREGON FIREARMS FEDERATION,                    Case No. 2:22-cv-01815-IM
   INC., an Oregon public benefit corporation,
   BRAD LOHREY, SHERMAN COUNTY
   SHERIFF, and ADAM JOHNSON, an
   individual,
                                                     JUDGMENT
         Plaintiffs,

   v.

   KATE BROWN, GOVERNOR OF THE
   STATE OF OREGON, in her official
   capacity, and ELLEN ROSENBLUM,
   ATTORNEY GENERAL OF THE STATE
   OF OREGON, in her official capacity

         Defendants,

        and

   OREGON ALLIANCE FOR GUN
   SAFETY,

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                Intervenor-Defendant.




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IMMERGUT, U.S. District Judge

        This matter having come before the Court for trial on May 30 and June 5–9, 2023, and

for the reasons set out in the Court’s Findings of Fact and Conclusions of Law, ECF 252, it is

hereby ORDERED and ADJUDGED that:

        Judgment is entered in favor of Defendants and Intervenor-Defendant and against

Plaintiffs on all claims.


        IT IS SO ORDERED.

        DATED this 31st day of July, 2023.

                                                    /s/ Karin J. Immergut
                                                    Karin J. Immergut
                                                    United States District Judge




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